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UNITED STATES DlSTRlCT COURT SOUTHERN DISTRICT OF TEXAS

 

Motion and Order for Admission Pro Hac Vice

 

Division HOUSTON Case Number 4:17-Cv-01 61 8

 

 

 

 

DlSH NETWORK L.L.C.,

 

V€I'S us

SHAHJAHAN DURRAN|
and ADAM LACKMAN

 

 

 

 

 

 

 

 

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iceosed. State & Number .
Federal Bar & Number MA BBO #668596 / 1st Clr. #1155137
Name of party applicant seeks to ADAN| LACKMAN
appear for:
Has applicant been sanctioned by any bar association or court? Yes No '/

On a separate sheet for each sanction, please supply the full particulars

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The state bar reports that the épplicayt/S status is:

 

 

 

 

 

 

 

 

Dated: Clerk’s signature

 

 

Order

 

 

This lawyer is admitted pro hac vice.

 

Dated:

 

 

United States District Judge

